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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

SHAAKIRRAH R. SANDERS,                     )
                                           )         Case No: 3:19-CV-00225-BLW
                      Plaintiff,           )
                                           )         DEFENDANTS’ MOTION TO PRESENT
              vs.                          )         TESTIMONY OF AN UNAVAILABLE
                                           )         WITNESS VIA VIDEO CONFERENCE
THE UNIVERSITY OF IDAHO, a                 )
public university governed by the          )
BOARD OF REGENTS OF THE                    )
UNIVERSITY OF IDAHO aka the                )
STATE BOARD OF EDUCATION,                  )
an executive department of the STATE       )
OF IDAHO, and MARK ADAMS,                  )
former Dean of the College of Law, in      )
his official and individual capacity,      )
and JERROLD LONG, interim Dean,            )
in his official capacity and individual    )
capacity                                   )
                                           )
                      Defendants.          )

       Defendants, pursuant to Federal Rule of Civil Procedure 43(a), hereby move the Court to

allow them to present the live testimony of an unavailable witness via video conference at the



DEFENDANTS’ MOTION TO PRESENT
TESTIMONY OF AN UNAVAILABLE
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trial set to begin in this matter on October 11, 2022.         This Motion is supported by the

Memorandum in Support of Defendants’ Motion to Present Live Testimony of an Unavailable

Witness via Video Conference, and the Declaration of David Pimentel, submitted herewith.

       Oral argument is requested if this Motion is opposed.

       Dated this 9th of August 2022.

                                            CLEMENTS, BROWN & McNICHOLS, P.A.

                                     By:    /s/
                                            BENTLEY G. STROMBERG
                                            Attorneys for Defendants University of
                                            Idaho, Mark Adams and Jerrold Long




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 9th day of August 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which caused the following
counsel to be served by electronic means, as more fully reflected on the Notice of Electronic
Filing:

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                                            /s/
                                            Bentley G. Stromberg




DEFENDANTS’ MOTION TO PRESENT
TESTIMONY OF AN UNAVAILABLE
WITNESS VIA VIDEO CONFERENCE                  -2-
